
705 S.E.2d 360 (2010)
Phyllis Dianne SMITH, on behalf of herself and all others similarly situated
v.
TEACHERS' AND STATE EMPLOYEES' RETIREMENT SYSTEM, a corporation; Board of Trustees of the Teachers' and State Employees' Retirement System, a body politic and corporate; Department of State Treasurer, Retirement Systems Division; Janet Cowell, Treasurer of the State of North Carolina and Chairman of the Board of Trustees Teachers' and State Employees' Retirement System of North Carolina (in her individual and official capacities); and The State of North Carolina.
No. 486P10.
Supreme Court of North Carolina.
December 15, 2010.
David G. Schiller, Raleigh, for Smith, Phyllis Dianne.
Robert M. Curran, Special Deputy Attorney General, for Teachers' and State Employees' Retirement System, et al.

ORDER
Upon consideration of the petition filed by Plaintiff on the 9th of November 2010 in this matter for discretionary review under G.S. 7A-31 prior to a determination by the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:

*361 "Denied by order of the Court in conference, this the 15th of December 2010."
